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             EXHIBIT G-13
                               Case 21-32261 Document 40-21 Filed in TXSB on 07/26/21 Page 2 of 2
UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS
 A. NAME & PHONE OF CONTACT AT FILER (optional)
      McCoy & Orta, P.C. 4052360003
 B. E-MAIL CONTACT AT FILER (optional)

 C. SEND ACKNOWLEDGMENT TO: (Name and Address)
   McCoy & Orta, P.C.                                                                                                    FILING NUMBER: 17-00093033
   100 North Broadway                                                                                                   FILING DATE: 03/20/2017     03:22 PM
 Suite 2600                                                                                                             DOCUMENT NUMBER: 723028190004
   Oklahoma City, OK 73102                                                                                              FILED: Texas Secretary of State
                                                                                                                        IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
   USA                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
 a INITIAL FINANCING STATEMENT FILE NUMBER
                                                                         fn c FII IA IL
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                                                                                         .ST Al EME111 WE. IL MEt is to be filed [for record] (or recorded) in the REAL ESTATE RECORDS
    16-0035155905                                              F     It ich A letidn ent Addend im Worm I Ct. 'Ad and orovide Debtor's name in Item 13

2 r TERMINATION Effectinness of the F                   anc tq Statemei dnnt 'ler, abode is etminatnd wan respect to the seCurit riletesUs, of the Son red Party aL. thortzing this Te mmiton Starr, ient

3 R./ASSIGNMENT Jul or part a              r   Pro rdn name of Ms u lee  item 'a or 'nano address of Assrq lee           7c a id a so   ame of ssignor    tern 0
For )artml assign rent co npInte to   ,   ano 9a day, indtca o affe- e frollatet
4. (-.CONTINUATION: Effectveness of the Frnancing statement rdentEfied above with respect to the sec my rnterest(s) of secured Party authonzmg tins Contrnuation statement rs continued for the
'additional period provided by applicable law

5.   r
    PARTY INFORMATION CHANGE:
Check one of these two boxes. This Change affects F Debtor or Secured Party of record. AND Check one of these three boxes to:
r CHANGE name and/or address Complete item 6a or 6b, and item r ADD name Complete item 7a or 7b,             r DELETE name Give record name
   7a or 7b and item 7c                                                and item 7c                               to be deleted in item 6a or 6b
6 CURRENT RECORD INFORMATION Complete for Party Information Change provide only one name (6a or 6b)
      as ORCA [RATION'S NAME

 OR
      eb It IDIVID IAL S SURNAME                               PRST PERsCARAL tIAME                                           ADDITIONAL NAME(S)/INITIAL(S)



7 CHANGED OR ADDED INFORMATION Complete for Assignment or Party Information Change                                     ovide only one name (7a. or 7b) (use exact full name, do r it or rt modify or abbreviate any
part of the Debtor's name)
      7a ORGANIZATION'S NAME
       WILMINGTON TRUST, NATIONAL ASSOCIATION, AS TRUSTEE FOR THE BENEFIT OF THE
 OR
      REGISTERED HOLDERS OF WELLS FARGO COMMERCIAL MORTGAGE TRUST 2016-LC25,
      COMMERCIAL MORTGAGE PASS -THROUGH CERTIFICATES, SERIES 2016-LC25
      Pb.INDIVIDUAL'S SURNAME                                 PRST PEPSONAL NAME                                              ADDITIONAL NAME(SWINITIAL(S)                             SLFFIX


7c MAILING ADDRESS                                            CDT                                                             trfAft               P s'RR. (.,ODE                            ITR (

     1100 North Market Street                                      V tInungton                                                  de                   19890                             USA
8        COLLATERAL CHANGE: Also check one of these four boxes I-ADD collateral                          DELETE coliatera               TA   coferec co lateral F AssIGN collateral
Indicate collateral




9 NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT Provide only one name (Da                                                            9b) (name of Assignor, ifthu   an Assignment)

If this sa, A rend sent authorized bye DEBTOR, check here r and provide name of authorizing Debtor
       ga ORCA IIZATION'S NAME

 OR
         RIALTO MORTGAGE FINANCE, LLC
                      IAL S SURNAME                            FIRST PERSONAL NAME                                            ADDITIONAL NA           /INI TIAL(S)                     SUFFIX



10 OPTIONAL FILER REFERENCE DATA
     Holiday Inn Webster Reference No.: 4435.017 FILE WITH TEXAS SECRETARY OF STATE
FILING OFFICE COPY
